






	



		





	

NUMBER 13-09-00190-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG






IN RE FERNANDO GARCIA






On Petition for Writ of Mandamus.






MEMORANDUM OPINION



Before Justices Yañez, Rodriguez, and Benavides


Per Curiam Memorandum Opinion (1)


												Relator, Fernando Garcia, has filed a pro se petition for writ of mandamus in this
Court, complaining that the respondent, Laura Hinojosa, the District Clerk of Hidalgo
County, Texas, has not forwarded documents related to an article 11.07 writ of habeas
corpus to the Texas Court of Criminal Appeals.  See Tex. Code Crim. Proc. Ann. art.
11.07 (Vernon Supp. 2008).  In his petition, relator requests this Court to make a finding
that the respondent has not transmitted documents to the court of criminal appeals within
a reasonable time and the relator "brought this litigation in Good Faith and has substantially
prevailed."  Relator also requests this Court to order respondent to send copies of
documents related to his application for writ of habeas corpus to the court of criminal
appeals.

	This Court does not have mandamus jurisdiction over district clerks unless it is
shown that issuance of the writ is necessary to enforce our jurisdiction.  See Tex. Gov't
Code Ann. § 22.221(a), (b) (Vernon 2004); In re Washington, 7 S.W.3d 181, 182 (Tex.
App.-Houston [1st Dist.] 1999, orig. proceeding); In re Coronado, 980 S.W.2d 691, 692
(Tex. App.-San Antonio 1998, orig. proceeding); see also In re Nubine, No. 13-08-507-CV,
2008 Tex. App. LEXIS 6534, at *1 (Tex. App.-Corpus Christi Aug. 27, 2008, orig.
proceeding) (per curiam) (mem. op).  Moreover, while courts of appeals have mandamus
jurisdiction in criminal matters, only the Texas Court of Criminal Appeals has jurisdiction
in final post-conviction felony proceedings.  See Tex. Code Crim. Proc. Ann. art. 11.07 §
3 (Vernon Supp. 2008); In re McAfee, 53 S.W.3d 715, 717 (Tex. App.-Houston [1st Dist.]
2001, orig. proceeding). 

	The Court, having examined and fully considered the petition for writ of mandamus,
is of the opinion that we lack jurisdiction to consider this matter.  Accordingly, the petition
for writ of mandamus is DISMISSED for want of jurisdiction.  See Tex. R. App. P. 52.8(a).	


								PER CURIAM


Do not publish.  See Tex. R. App. P. 47.2(b).


Memorandum Opinion delivered and 

filed this 14th day of April, 2009.
1.  See Tex. R. App. P. 52.8(d) ("When denying relief, the court may hand down an opinion but is not
required to do so."); Tex. R. App. P. 47.4 (distinguishing opinions and memorandum opinions).


